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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION

RE: Juanda Dale Parker XXX-XX-7928                                           Case No. 19-31486-KLP



                             DIRECTIVE FOR WAGE DEDUCTION

Bon Secours Health Systems, Inc.
Attn: Payroll Department
1505 Marriottsville Road
Marriottsville, MD 21104

     The Debtor, Juanda Dale Parker, having filed a petition under Chapter 13 of the Bankruptcy
Code, thereby having subjected their property and all their future earnings to the jurisdiction of this
Court until further notice from this Court; and this Court having assumed exclusive jurisdiction over all
of the Debtor’s future earnings, which are not subject to levy or garnishment, except continuing wage
withholding orders for current child support; and the Debtor herein having requested the issuance of this
Directive to implement his plan; and Section 1325(b) of Title 11 of the United States Code providing
for the entry of a wage assignment document;

    IT IS DIRECTED:

    That the above Employer be, and is hereby directed to deduct from Debtor’s earnings for payment
to fund the Debtor’s plan, the sum of $196.15 bi-weekly beginning immediately and to forward said
deduction at least monthly to CARL M. BATES, Chapter 13 Trustee, PO Box 1433, Memphis,
TN 38101-1433. The debtor's name and case number should be recorded on the check for payment.
    The above employer is hereby enjoined from imposing any form of penalty or disciplinary action
against the Debtor because of the issuance and effect of this Directive, the same having been issued to
implement the Debtor’s voluntary Chapter 13 plan as authorized by the Bankruptcy Code. Any such
employer action is prohibited by section 525 of Title 11 of the United States Code.
    THIS DIRECTIVE IS ENTERED PURSUANT TO GENERAL ORDER NO. 04-1 OF THE
UNITED STATES BANKRUPTCY COURT.

Dated: May 10, 2019
                                                    /S/ Carl M. Bates
                                                    Carl M. Bates, Trustee
                                                    Eastern District of Virginia, Richmond Division


IF ANY INFORMATION IS DESIRED REGARDING THIS DIRECTIVE, CALL THE
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TRUSTEE’S OFFICE AT 804.237.6800 OR FAX TO 804.237.6801

PLEASE NOTIFY THE TRUSTEE’S OFFICE IF AND WHEN THIS DEBTOR LEAVES
YOUR EMPLOYMENT

The Trustee does hereby certify that a copy of this Directive was mailed to the Debtor and the employer
and electronically sent to Debtor’s counsel on the date above written.

                                                   /S/ Carl M. Bates
                                                   Carl M. Bates, Trustee
